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                          UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK


 Kane, et al.


                Plaintiffs,

                       vs.
                                               DECLARATION OF

 De Blasio, et al.                             ROBERT GLADDING

                Defendants.
                                               Civil Action No. 1:21-cv-07863



STATE OF NEW YORK                 )
                                  ) ss.:
COUNTY OF NEW YORK                )




   Robert Gladding, declares under penalty of perjury, pursuant to 28 U.S.C. § 1746,

that the following is true:

   1. I am Robert Gladding.

   2. My current employment status: denied appeal, leave without pay as notified

       Tuesday October 5th, 2021, at about 8:41 PM. My schools.nyc.gov email was shut

       down when I woke up Wednesday morning, so if I had not opened my email

       Tuesday night, I would not have known my status. A true and accurate copy of

       the email I received is attached as Exhibit A.



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3. On Friday Sept 17th I submitted my religious exemption documentation to the

   DOE.

4. On Sunday, September 19th I received a notification that my religious exemption

   was denied.

5. On Monday, September 20th I appealed within the allotted, narrow deadline.

6. On Tuesday, September 21st, I received an invitation to an appeal meeting via

   zoom.

7. Said zoom appeal meeting took place on Thursday, September 23rd at 3:30 PM.

8. Details of the zoom appeal meeting, which I attended with Mr. Herron of the

   UFT, Arbitrator Torrey and Ms. Peer as counsel for the DOE.

9. UFT instructed me in the breakout room that my appeal would be denied if my

   beliefs were personal, political, or philosophical and to spend the time explaining

   my faith and how it affects the decisions I make.

10. During the zoom arbitration meeting I spoke emotionally about my conscious

   contact with God, and how it affects all decisions that I make - both daily, and

   larger life decisions as well.

11. Mr. Herron of the UFT added his standing objection that I was given no specific

   reason for my denial and as such this put me at a disadvantage for preparing for

   my appeal.

12. Ms. Peer, the DOE counsel stated that “The Department would argue that the

   exemption was denied appropriately, as Mr. Gladding had stated that his

   objection extends to all vaccines, and we would argue that this is a political and

   philosophical objection that is combined with his religious objection."



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13. On Saturday Sept 25th I received the denial award that said: "Appellant failed to

   establish entitlement to a religious exemption based upon evidence submitted

   and the testimony presented at the hearing." This was dated and signed by Julie

   Torrey September 23rd, 2021, the day of the appeal.

14. This is not true – as expressed in my letter and statement from clergy, these are

   religious beliefs.

15. On Monday September 27th, I received an email stating I was still pending.

16. On Friday October 1st at 9:51 PM I received a second email saying I was still

   pending.

17. On Tuesday October 5th after our TRO hearing, I received a denial email at 8:52

   PM - it said I was denied "As you are aware" in direct contradiction to the two

   "pending" emails in between this denial and the first denial on Sept 25th.

18. I am in possession of a recording of the appeal meeting via zoom. All parties were

   notified said recording was taking place.




                                                    _______________________
                                                    Robert Gladding




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